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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


      UNITED STATES OF AMERICA

      vs.                                                 CASE NO. 6:01-CR-90-ORL-19KRS

      BENJAMIN RUIZ, JR.



                                               ORDER

             This case was considered by the Court on Petition on Probation and Supervised

      Release (Doc. No. 386, filed March 28, 2005), Report and Recommendation of the United

      States Magistrate Judge (Doc. No. 396, filed April 15, 2005), and Order to Show Cause at

      Final Revocation Hearing (Doc. No. 397, filed April 19, 2005) at a hearing held May 4, 2005

      attended by Defendant, counsel for Defendant and counsel for the Government. Upon

      hearing the matters presented, it is ORDERED:

             1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

      No. 396) is ADOPTED AND APPROVED, there being no objection filed.

             2.      The Petition on Probation and Supervised Release (Doc. No. 386) is

      GRANTED, and the Defendant's supervised release (Doc. No. 264, filed November 21,

      2001) is REVOKED.

             3.      Defendant shall be committed to the custody of the United States Bureau of

      Prisons to be incarcerated for a term of 4 months. The Defendant shall report at his own

      expense to the facility designated by the Bureau of Prisons to serve this sentence on or

      before 2:00 p.m. on Friday, May 27, 2005 for service of this sentence. Upon service of

      this sentence of imprisonment under the auspices of the Bureau of Prisons, Defendant shall
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      serve 2 years on supervised release.

              4.      The Court has considered the factors enumerated in 18 United States Code

      Section 3553 including applicable advisory guidelines and policy statements issued by the

      U.S. Sentencing Commission in imposing this sentence.

              5.      In all other respects the Judgment in a Criminal Case (Doc. No. 264) remains

      in full force and effect.

              6.      Defendant has been advised of his right to appeal.

              DONE AND ORDERED at Orlando, Florida, this             4th      day of May, 2005.




      Copies to:

      Assistant United States Attorney
      Attorney for Defendant
      United States Marshal
      United States Probation
      United States Pretrial Services
      Defendant
